         Case 1:17-cv-04179-DLC Document 214 Filed 07/11/19 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                                  17-cv-4179-DLC
COMMISSION,

                                      Plaintiff,
                                                                          ECF CASE
       - against -

ALPINE SECURITIES CORPORATION,

                                      Defendant.



                       DECLARATION OF ZACHARY T. CARLYLE

       I, Zachary T. Carlyle, do hereby declare under penalty of perjury, in accordance with 28

U.S.C. § 1746, that the following is true and correct, that I am over 18 years of age and I am

competent to testify to the matters stated herein:

       1.      My name is Zachary T. Carlyle and I am a resident of the State of Colorado.

       2.      I am an attorney that represents the Plaintiff United States Securities and

Exchange Commission (“SEC”) in the above referenced enforcement action against Alpine

Securities Corporation (“Alpine”).

       3.      The SEC has submitted a set of exhibits with its Reply in Support of the SEC’s

Motion for Remedies.

       4.      Exhibit 1 is a true and correct copy transcript excerpts from the deposition of

Christopher L. Frankel for Alpine Securities Corporation, on March 13, 2018.

       5.      Exhibit 2 is a true and correct copy of




                                                     1
        Case 1:17-cv-04179-DLC Document 214 Filed 07/11/19 Page 2 of 2




       6.     Exhibit 3 is a true and correct copy of




       7.     Exhibit 4 is a true and correct copy of an email exchange between counsel for the

SEC and Alpine, with the last email dated March 8, 2018.

       8.     Exhibit 5 is a Declaration of Eric M. Turnbaugh.

       9.     Exhibit 6 is a true and correct copy of an email from counsel for the SEC to

counsel for Alpine dated March 9, 2018, with an attachment.

       10.    Exhibit 7 is a true and correct copy of a March 16, 2018, email from counsel for

the SEC to counsel for Alpine.

       11.    Exhibit 8 is a true and correct copy of a March 16, 2018, email from counsel for

the SEC to counsel for Alpine.

       I declare under the penalty of perjury that the foregoing is true and correct.



Dated: July 11, 2019

                                              _/s/ Zachary T. Carlyle___________
                                              Zachary T. Carlyle




                                                 2
